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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

   IN RE: XARELTO (RIVAROXABAN)        *           MDL 2592
   PRODUCTS LIABILITY LITIGATION       *
                                       *           SECTION L
   THIS DOCUMENT RELATES TO:           *
         ALL CASES                     *           JUDGE ELDON E. FALLON
                                       *
                                       *           MAG. JUDGE NORTH
                                       *
   ************************


                                EXHIBIT 9 TO
          PLAINTIFFS’ MOTION TO PRECLUDE SPECULATIVE TESTIMONY
           FROM SIX DEFENSE EXPERTS ABOUT POTENTIAL OUTCOMES
                       FROM OTHER ANTICOAGULANTS




   FILED UNDER SEAL




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                                                                              Scott S. Boniol, M.D.
                                                                       USDC, EDLA MDL 2592 “L”




                                           Expert Testimony

   In the last 4 years, I have provided expert testimony in the following cases:

      1. Roberts vs Humana, 22nd JDC Div. H, No. 2010–12239




                                                                                              USCA5 1176
